        Case 1:06-cv-00695-MMS Document 66 Filed 02/20/09 Page 1 of 10




           In the United States Court of Federal Claims
                                           No. 06-695 C
                                    (Filed: February 20, 2009)

*************************************
BRICKWOOD CONTRACTORS, INC.,        *
                                    *
                  Plaintiff,        *
                                    *
v.                                  *
                                    *
THE UNITED STATES,                  *
                                    *
                  Defendant.        *
*************************************

              ORDER DISMISSING CASE FOR FAILURE TO PROSECUTE

        On February 4, 2009, the court issued a third Order to Show Cause in the above-
captioned case, directing plaintiff to demonstrate why its case should not be dismissed for failure
to prosecute pursuant to Rule 41(b) of the Rules of the United States Court of Federal Claims
(“RCFC”). Plaintiff had terminated its relationship with the fourth attorney to enter an
appearance on its behalf in this matter, Frederic G. Antoun, Jr., once again putting itself in
danger of violating RCFC 83.1(a)(3), which requires corporations to be represented by counsel.
Thus, the court informed plaintiff that to avoid dismissal, the response to the Order to Show
Cause should be either (1) “a motion to substitute counsel from the new attorney” or (2) a motion
from plaintiff’s principals–Peter and Veron Kalos–“requesting additional time for plaintiff’s new
attorney to file a motion to substitute, along with definitive evidence that plaintiff has
retained new counsel.” Order to Show Cause, Feb. 4, 2009, at 3 (emphasis in the original).
Because plaintiff and its principals have failed to comply with the Order to Show Cause, the
court dismisses plaintiff’s complaint.

                                       Procedural History

        Plaintiff filed the instant case on October 10, 2006. Shortly thereafter, on November 3,
2006, plaintiff’s counsel, Mark J. Stone of Katz & Stone, L.L.P, filed a motion for leave to
withdraw as counsel due to “irreconcilable differences.” See Mot. Leave Withdraw Counsel,
Nov. 3, 2006, at ¶ 1. Plaintiff subsequently retained Scott J. Newton of Stephens, Boatwright,
Primeau, Cooper & Coleman, who ultimately sought leave to withdraw as counsel on January 31,
2008, because he had “reached an impasse” with plaintiff concerning the prosecution of the case
and because communications with plaintiff had “rendered the representation unreasonably
difficult for counsel.” See Mot. Withdraw Counsel, Jan. 31, 2008, at ¶ 1. The case was
transferred to the undersigned on February 29, 2008.
           Case 1:06-cv-00695-MMS Document 66 Filed 02/20/09 Page 2 of 10




         At the time of transfer, plaintiff was “under court order to retain new counsel and file a
motion to substitute counsel by March 10, 2008.” See Order, Mar. 5, 2008, at 1. The court
subsequently granted plaintiff a two-week enlargement of that deadline. See Order, Mar. 7,
2008. Because plaintiff did not file the required motion to substitute counsel by the enlarged
deadline of March 24, 2008, the court issued an Order to Show Cause on March 25, 2008,
directing plaintiff to demonstrate why the case should not be dismissed pursuant to RCFC 41(b)
for failure to prosecute. See Order to Show Cause, Mar. 25, 2008. The court directed plaintiff to
respond to the Order to Show Cause by April 1, 2008, id., but plaintiff failed to do so.
Accordingly, on April 3, 2008, the court dismissed plaintiff’s complaint pursuant to RCFC 41(b).

       Plaintiff subsequently retained Douglas J. Behr of Keller and Heckman LLP to file a
motion to substitute counsel and an RCFC 60(b) motion for relief on its behalf, and, if the court
granted the RCFC 60(b) motion, to represent it in all future proceedings. See Mot. Substitute
Attorney, Apr. 23, 2008, at 1. Plaintiff filed a motion to substitute counsel on April 23, 2008.
The court permitted the substitution on April 29, 2008, plaintiff filed the RCFC 60(b) motion on
April 29, 2009, and the court granted the motion on May 21, 2008.

        Pursuant to the court’s direction, the parties filed a joint status report on June 23, 2008,
suggesting a schedule for further proceedings, including a schedule for the remaining discovery.
The court adopted the parties’ suggested schedule in a June 24, 2008 order. However, three
months later, on September 26, 2008, Mr. Behr filed a motion for leave to withdraw as counsel,
indicating that he had “reached an impasse” with plaintiff concerning the prosecution of the case
and that communications with his client had “rendered the representation unreasonably difficult
for counsel.”1 See Mot. Leave Withdraw Counsel, Sept. 26, 2008, at ¶¶ 1-2. In a September 29,
2008 order, the court directed that, by October 29, 2008, (1) plaintiff file a motion to substitute
counsel or (2) Mr. and Mrs. Kalos file a status report containing a response to the motion to
withdraw and “a detailed description of the steps plaintiff has taken to retain new counsel.” See
Order, Sept. 29, 2008, at 2. Mr. Kalos chose the second option, and submitted a status report on
October 29, 2008, which the court filed by its leave on October 31, 2008. See Order, Oct. 31,
2008.

       The insufficiencies of the Mr. Kalos’s status report led the court to issue a second Order
to Show Cause on November 12, 2008. In its order, the court addressed Mr. Kalos’s
representations about the search for new counsel:

       [I]n his status report, Mr. Kalos stated only that they were interviewing potential
       counsel. Mr. Kalos did not indicate how many attorneys they were interviewing,


       1
          In the meantime, on September 4, 2008, Peter and Veron Kalos filed a pro se complaint
in this court, seeking various forms for relief related to an allegedly fraudulent surety bond issued
in conjunction with the contract at issue in the instant case. See Compl., Kalos v. United States,
No. 08-631C.

                                                 -2-
           Case 1:06-cv-00695-MMS Document 66 Filed 02/20/09 Page 3 of 10



       the dates of the interviews, or the likelihood that any of the interviewed attorneys
       would agree to representation. Because Mr. Kalos did not provide this
       information, the court affords little weight to his representation that he and Veron
       Kalos were interviewing potential counsel.

Order to Show Cause, Nov. 12, 2008, at 3-4. The court then indicated that Mr. Kalos’s argument
that plaintiff required additional time because “Mr. Behr refuses to pursue a litigation strategy
urged by Mr. Kalos (i.e., seeking injunctive relief related to the allegedly fraudulent surety bond)
despite being ‘fully appraised of, and in concurrence with[,] the circumstances of this case’ at the
time he was hired,” was unpersuasive. Id. at 4. As the court explained, plaintiff “believed that
the surety bond was fraudulent well in advance of plaintiff’s retention of Mr. Behr,” noting that
“in their September 4, 2008 pro se complaint, Peter and Veron Kalos allege that a representative
of the contracting agency informed them that the surety bond was fraudulent on November 20,
2005.” Id. (citing Compl. ¶ 9, Kalos v. United States, No. 08-631C). Thus, the court found “that
any counsel retained by plaintiff in May 2008 would have agreed to pursue relief related to the
allegedly fraudulent bond as desired by [plaintiff]. That Mr. Behr has apparently decided not to
pursue that litigation strategy is solely plaintiff’s responsibility.”2 Id. In sum, the court
concluded that plaintiff “has had sufficient time in which to retain counsel willing to pursue its
litigation strategy,” and, as a result, provided that if plaintiff had not filed a motion to substitute
counsel or “evidence of a new attorney-client fee agreement” by November 26, 2008, the court
would dismiss plaintiff’s complaint for failure to prosecute pursuant to RCFC 41(b).

       Plaintiff responded to the November 12, 2008 Order to Show Cause on November 26,
2008, with two submissions, which the court filed by its leave. See Order, Dec. 1, 2008, at 1.
The court described the submissions in a December 1, 2008 order as follows:

       The first of these submissions is a ten-paragraph response to the court’s Order to
       Show Cause, within which Mr. Kalos makes the following relevant
       representations:

               8. Brickwood has had one attorney who quit without explanation, one
               who quit claiming Brickwood must accept the Government’s no-cost
               convenience termination, and one who completely failed to take steps to
               propound [sic] discovery responses from the Government.

               9. Of the fourteen attorneys interviewed so far, four have agreed to take
               this case, two are still reviewing the case, and Brickwood has selected an
               attorney outside of the Washington, DC area who it believes can proceed
               unencumbered and in Brickwood’s best interest.



       2
         The mere recitation by the court of plaintiff’s litigation strategy is not an endorsement
or approval of that strategy.

                                                  -3-
           Case 1:06-cv-00695-MMS Document 66 Filed 02/20/09 Page 4 of 10



               10. Brickwood does not believe it should be required to divulge the names
               of the companies interviewed, is sending its retainer information under
               seal to the Judge, and requests permission to do so.

       Resp. Show Cause ¶¶ 8-10. The second submission is a notice indicating that the
       “[u]nder seal retainer agreement is attached,” attached to which is[] a sealed
       envelope labeled “UNDER SEAL ATTORNEY RETAINER.” Notice 1.

Id. at 1-2 (footnote omitted). With respect to the first submission, the court found the additional
information Mr. Kalos provided concerning plaintiff’s search for new counsel to be “vague,”3
and directed Mr. Kalos to file an additional status report by December 12, 2008, indicating:

       (1) how many of the “fourteen attorneys interviewed so far” were interviewed
       after Douglas J. Behr and the law firm of Keller and Heckman LLP filed their
       motion to withdraw as plaintiff’s counsel of record (i.e., after September 26,
       2008) and (2) how many of the “four” attorneys who “have agreed to take this
       case” actually agreed to represent plaintiff after Mr. Behr and his law firm filed
       their motion to withdraw.

Id. at 2. Then, with respect to the purported “retainer agreement,” the court noted that Mr. Kalos
“overstate[d] the contents of the submitted document.” Id. at 3. The court indicated that the
document was not a retainer agreement, but was instead:

       a November 25, 2008 letter from Veron Kalos to an attorney that (1) requests an
       hourly rate that differs from the rate apparently quoted by the attorney, (2)
       indicates availability for an in-person meeting with the attorney the following
       week, and (3) notes that a “retainer check” is enclosed with the letter.

Id. As the court noted, Mr. Kalos had not provided any evidence that “the attorney ha[d]
accepted the terms of representation proposed by Ms. Kalos.” Id. Taking into consideration both
of Mr. Kalos’s submission, the court concluded:

               Mr. Kalos has been less than clear concerning the steps he has taken to
       retain new counsel for plaintiff and the status of plaintiff’s relationship with the
       “attorney outside of the Washington, DC area . . . .” However, he does indicate
       that “four” attorneys “have agreed to take this case” and that plaintiff has entered


       3
          The court also noted that contrary to Mr. Kalos’s implication, it never requested that
Peter or Veron Kalos “divulge the names of the companies interviewed . . . .” See Order, Dec. 1,
2008, at 2. Rather, the court merely indicated that in its November 12, 2008 Order to Show
Cause, it commented that “Mr. Kalos did not indicate how many attorneys they were
interviewing, the dates of the interviews, or the likelihood that any of the interviewed attorneys
would agree to representation.” Id.

                                                -4-
         Case 1:06-cv-00695-MMS Document 66 Filed 02/20/09 Page 5 of 10



       into a “retainer agreement” with an attorney. Taking Mr. Kalos at his word that
       four attorneys are willing to represent plaintiff in this matter, the court expects
       that a motion to substitute counsel by one of the four attorneys will be filed
       posthaste. Accordingly, plaintiff shall file, no later than Wednesday, December
       31, 2008, a motion to substitute counsel pursuant to RCFC 83.1(c)(4)(A). If an
       attorney has not filed a motion to substitute counsel by December 31, 2008,
       the court will dismiss plaintiff’s case with prejudice pursuant to RCFC 41(b).
       The court will not grant plaintiff any further extensions of time to retain an
       attorney.

Id. (emphasis in the original).

        On December 12, 2008, Mr. Kalos filed the requested status report, indicating that “[o]f
the fourteen firms interviewed, twelve were interviewed after Keller and Heckman filed its
motion to withdraw,” and “[o]f that twelve, four agreed to represent Brickwood after Keller &
Heckman filed its motion to withdraw.” Status Report Brickwood Contractors, Inc., Dec. 12,
2008, at ¶ 2. Adding the “two law firms already known to Brickwood” that had “agreed to
represent Brickwood” prior to September 26, 2008, id. ¶1, plaintiff “had a total of six firms to
choose from,” id. ¶ 2. Also on December 12, 2008, plaintiff filed a motion to substitute counsel,
seeking the substitution of Mr. Antoun for Mr. Behr. Thereafter, in a December 30, 2008 order,
the court granted both Mr. Behr’s motion for leave to withdraw as counsel and Mr. Antoun’s
motion to substitute counsel. The court directed the parties to file a joint status report by January
28, 2009, to address (1) the additional discovery necessary in this case; (2) the parties’ views on
the impact of Kalos v. United States, No. 08-631C, on this case; and (3) a suggested schedule for
further proceedings. Order, Dec. 30, 2008, at 1. The court also directed the parties to contact the
court by February 4, 2008, to schedule a status conference. Id. at 2.

        The parties filed their joint status report on January 28, 2009, as directed. Then, on
February 2, 2009, the parties jointly telephoned the court. However, instead of being prepared to
schedule a status conference, Mr. Antoun indicated that plaintiff had terminated their attorney-
client relationship. The court orally directed Mr. Antoun to file a status report to explain the
situation for the record. On February 3, 2009, Mr. Antoun filed a status report that provided the
following details:

       I. Termination of Counsel

               On January 28, 2009, Peter Kalos, President of Brickwood Contractors,
       Inc., Plaintiff, contacted Brickwood’s Attorney of Record, Frederic G. Antoun Jr.
       by telephone and advised that Counsel’s services were terminated, and that
       Brickwood had hired a new attorney to represent the corporation in this matter.




                                                 -5-
        Case 1:06-cv-00695-MMS Document 66 Filed 02/20/09 Page 6 of 10



              Subsequent correspondence and an unscheduled office visit on January 30,
       2009 by Veron Kalos, Brickwood’s Secretary-Treasurer, confirmed the
       termination.

              Brickwood’s Attorney of Record advised Peter Kalos verbally on January
       28, 2009 and in correspondence dated January 29, 2009 that a Motion to
       Substitute Attorney of Record was the preferred methodology to effect the
       withdrawal of a current attorney and entry of appearance of the new attorney, and
       requested that Brickwood have its new attorney immediately contact the current
       Attorney of Record. This request was repeated at Veron Kalos’ office visit on
       January 30, 2009.

             No new attorney has contacted the current attorney of record for
       Brickwood or the government.

       II. Proposed Action

              Brickwood’s current Attorney of Record proposes that the Court allow a
       period of thirty (30) days in which to file either a Motion to Substitute Attorney of
       Record, or a Motion to Withdraw as Attorney of Record.

Status Report, Feb. 3, 2009, at 1-2.

       On February 4, 2009, the court convened a recorded status conference to discuss the
contents of the status report. See Order to Show Cause, Feb. 4, 2009, at 1. During the status
conference, Mr. Antoun responded to the court’s inquiries as follows:

       Mr. Antoun . . . indicated that he had asked Mr. Kalos the name of plaintiff’s new
       attorney during their January 28, 2009 telephone conversation, but that Mr. Kalos
       refused to provide him with that information. Mr. Antoun also indicated that he
       had asked Ms. Kalos the name of plaintiff’s new attorney during her January 30,
       2009 office visit but that she declined to provide it. However, Ms. Kalos did ask
       Mr. Antoun to return the balance of plaintiff’s retainer so that she and Mr. Kalos
       could hire plaintiff’s new attorney.

Id. at 2. Mr. Antoun also indicated Peter and Veron Kalos now disputed “the fact that they
retained Mr. Antoun to represent plaintiff.” Id. at 1 (footnote omitted). He explained that the
Kaloses’ contention arose from the fact that “although he and the parties had reached an
agreement on his original representation of plaintiff, Mr. and Ms. Kalos had been attempting to
alter the scope of that agreement.” Id. at 1-2.




                                                -6-
           Case 1:06-cv-00695-MMS Document 66 Filed 02/20/09 Page 7 of 10



        After concluding the February 4, 2009 status conference, the court issued the instant
Order to Show Cause. At the outset, the court addressed the Kaloses’ contention that they never
retained Mr. Antoun to represent plaintiff in this case:

               The Kaloses’ contention is not credible. If they never hired Mr. Antoun,
       then they lied to the court when they represented in their December 1, 2008
       response to the court’s November 12, 2008 order to show cause that they had
       retained a new attorney (i.e., Mr. Antoun) to represent plaintiff. More[]over, if
       they never hired Mr. Antoun, they perpetrated a fraud on the court by allowing
       Mr. Antoun to file a Motion to Substitute without objection. Thus, if Mr. and Ms.
       Kalos continue to maintain that they did not retain Mr. Antoun to represent
       plaintiff, they will be subject to sanctions pursuant to [RCFC] 11 . . . .

Id. at 1-2 n.1. The court then described the issues presented by plaintiff’s termination of the
attorney-client relationship with Mr. Antoun:

               As plaintiff is well aware, RCFC 83.1(a)(3) requires corporations to be
       represented by counsel. Mr. and Ms. Kalos have represented to Mr. Antoun that
       they have retained new counsel to represent plaintiff in this matter, first making
       this representation seven days ago, on January 28, 2009. Despite the Kaloses’
       representations to Mr. Antoun, plaintiff’s new attorney has not filed a motion to
       substitute counsel in this case.

Id. at 2. Accordingly, the court indicated that if plaintiff or the Kaloses did not respond to the
Order to Show Cause within two weeks in the manner described in the opening paragraph set
forth above, the court would dismiss plaintiff’s complaint for failure to prosecute pursuant to
RCFC 41(b). The court explained that, “[g]iven their representations to Mr. Antoun that they
had already retained new counsel as of one week ago, . . . two weeks [was] sufficient time for
Mr. and Ms. Kalos to comply with this order.” Id. at 3 (footnote omitted). Moreover, the court
indicated that even “if Mr. and Ms. Kalos ha[d] not retained new counsel,” it was “confident that
two weeks [was] sufficient time to retain new counsel” because “Mr. and Ms. Kalos represented
in both their December 1, 2008 response to the court’s November 12, 2008 order to show cause
and their December 12, 2008 status report that they had identified four attorneys who were
willing to represent plaintiff.” Id. at 3 n.5.

                   Plaintiff’s Response to the Instant Order to Show Cause

        On February 18, 2009, Peter and Veron Kalos submitted a status report in response to the
instant order to show cause.4 The Kaloses use the first eleven numbered paragraphs of the status


       4
          The court had directed plaintiff to file a motion to substitute counsel or Peter and Veron
Kalos to file a motion for enlargement of time. Because the Kaloses request a sixty-day
enlargement of time in the last paragraph of their status report, the court will allow the status

                                                -7-
           Case 1:06-cv-00695-MMS Document 66 Filed 02/20/09 Page 8 of 10



report to further their contention that they never retained Mr. Antoun to represent plaintiff.
Status Report of Brickwood Contractors, Inc., Feb. 18, 2009, at ¶¶ 1-11. According to the
Kaloses, they interpreted the court’s November 12, 2008 Order to Show Cause “as direction to
ensure Mr. Antoun’s written retainer agreement included his agreement to seek the declaratory
relief sought from the counterfeit bond.” Id. ¶ 4. The Kaloses’ interpretation of the court’s order
cannot withstand scrutiny. The court did not direct that any post-May 2008 retainer agreement
contain an express agreement about how to prosecute plaintiff’s case; the court merely informed
the Kaloses that it presumed that any attorney they retained to represent plaintiff in May 2008 or
beyond would have been retained with the understanding that the attorney’s representation of
plaintiff would include the pursuit of declaratory and injunctive relief relating to the allegedly
fraudulent surety bond. Thus, the court presumed in November 2008 that Mr. Behr had been
aware of how plaintiff wanted to proceed when he was retained. Similarly, the court logically
presumes that the Kaloses would not have retained Mr. Antoun without informing him of how
they wanted to prosecute the case; after all, the Kaloses had already parted ways with three prior
attorneys for the attorneys’ refusal to comply with the Kaloses’ preferred litigation strategy. As a
result, disputes about the scope of Mr. Antoun’s representation of plaintiff do not render that
representation a nullity.

        Moreover, as the court noted in the instant Order to Show Cause, the Kaloses’ present
contention is at odds with both their December 1, 2008 representation to the court that they had
retained a new attorney to represent plaintiff and plaintiff’s filing of a motion to substitute Mr.
Antoun in the place of Mr. Behr. See Order to Show Cause, Feb. 4, 2009, at 1-2 n.1. The
Kaloses did not address either of these inconsistencies in their status report, even in light of the
court raising the possibility of sanctions. Thus, the court finds no reason to depart from its
conclusion that the plaintiff retained Mr. Antoun. The Kaloses’ present contention that plaintiff
did not retain Mr. Antoun is, at a bare minimum, disingenuous, and, at best, represents a flagrant
misunderstanding of the attorney-client relationship and the court’s rules of procedure.

        In the next eleven numbered paragraphs of their status report, the Kaloses describe their
disagreement with the positions asserted by Mr. Antoun in the January 28, 2009 joint status
report on plaintiff’s behalf. Status Report of Brickwood Contractors, Inc., Feb. 18, 2009, at ¶¶
12-22. However, the nature and scope of their disagreement is of little relevance here; the reason
why plaintiff terminated its relationship with Mr. Antoun does not in any way alter plaintiff’s
responsibility to retain new counsel as directed by the court in the instant Order to Show Cause.5


report to be filed by its leave and will treat it as a motion for enlargement of time.
       5
          The court does note, however, that the Kaloses appear to completely misinterpret the
first paragraph of section III.B of the January 28, 2009 joint status report, which provides:

               Brickwood’s position is that failure to invalidate the termination for
       convenience or reduce the termination costs would not defeat the claims in Kalos
       v. United States, No. 08-631. Likewise, the Government’s success on the pending

                                                 -8-
           Case 1:06-cv-00695-MMS Document 66 Filed 02/20/09 Page 9 of 10



In the final two numbered paragraphs of their status report, the Kaloses revisit both the
withdrawal of plaintiff’s second attorney, Mr. Newton, due plaintiff’s failure to accept his
settlement recommendation, and issues related to the purported fraudulent surety bond. Id. ¶¶
23-24. Again, Mr. Newton’s representation is not relevant here; Mr. Newton’s withdrawal in
January 2008 does not in any way alter plaintiff’s responsibility to retain new counsel as directed
by the court in the instant Order to Show Cause.

        In sum, despite their claims in prior submissions that several attorneys were willing to
prosecute plaintiff’s case to their satisfaction, the Kaloses have not provided the court “with
definitive evidence that plaintiff has retained new counsel” as required in the instant Order to
Show Cause. Nor have the Kaloses even attempted to explain why they have not retained an
attorney to replace Mr. Antoun (or their apparent misrepresentation to Mr. Antoun that they had
retained new counsel to represent plaintiff). All that the Kaloses have provided is a litany of
complaints about plaintiff’s prior attorneys.

               Plaintiff’s Inability to Maintain an Attorney-Client Relationship

        As the court has noted several times in the past, see Order to Show Cause, Sept. 29, 2008,
at 1; Order to Show Cause, Nov. 12, 2008, at 1, 4-5; Order to Show Cause, Feb. 4, 2009, at 2,
plaintiff has exhibited a marked inability to maintain a relationship with counsel. In four of the
seven cases that plaintiff filed prior to the instant case, plaintiff has had multiple attorneys.6
Morever, in the instant case, plaintiff has been represented by four attorneys–a veritable
revolving door of representation. As the court noted in the instant Order to Show Cause:

               Plaintiff, through the actions of its principals, has demonstrated a clear
       inability to maintain a viable relationship with its counsel. Plaintiff’s difficulties
       with counsel have resulted in numerous delays in the case, such that the case is
       over two years old and only minimal discovery has occurred. Since being
       assigned to this case on February 29, 2008, almost one year ago, the undersigned
       has spent virtually all of its time dealing with issues related to plaintiff’s inability



       motion to dismiss in Kalos v. United States, No. 08-631, or a judgment for the
       Government thereafter, would not defeat the claims made by Brickwood in the
       instant matter.

Joint Status Report, Jan. 28, 2009, at 2-3. Clearly, this paragraph reflects Mr. Antoun’s belief
that a judgment in one case would not affect any judgment in the other case, and not, as the
Kaloses contend, “that Termination Costs in this case[] can include the monetary relief sought in
the related case.” See Status Report of Brickwood Contractors, Inc., Feb. 18, 2009, at ¶ 12.

       6
           The four cases bear the following case numbers: 99-180, 99-367, 99-388, and 05-271.

                                                  -9-
        Case 1:06-cv-00695-MMS Document 66 Filed 02/20/09 Page 10 of 10



        to maintain a relationship with counsel.[FN] This is not an efficient or effective
        use of the court’s time.

               [FN] But for the discovery scheduling order the court issued on June 24,
        2008, the court would have spent all of its time on this issue.

Order to Show Cause, Feb. 4, 2009, at 2.

        With the most recent submission by the Kaloses, it is apparent to the court that they have
not taken the orders of the court seriously, and have instead engaged in a endless stream of
dilatory tactics in a fruitless effort to retain counsel that will prosecute this case precisely the way
they want, regardless of the legal merits. The court declines to waste any more time on this
matter. Peter and Veron Kalos have not complied with the instant Order to Show Cause and
have provided the court with absolutely no indication that they can retain counsel who can–in
good conscience and within the bounds of RCFC 11–comply with their wishes. Accordingly, the
court DENIES the Kaloses’ motion for a sixty-day enlargement of time and DISMISSES
plaintiff’s complaint for failure to prosecute pursuant to RCFC 41(b). COSTS TO
DEFENDANT. The clerk is directed to enter judgment accordingly.

       The clerk shall also deliver a copy of this order to plaintiff via regular U.S. Mail at the
following address:

                                Brickwood Contractors, Inc.
                                P.O. Box 4685
                                Manassas, VA 20108-4685

Further, Mr. Antoun is directed to provide a copy of this order to plaintiff via U.S. Mail,
electronic mail, and facsimile. Mr. Antoun shall then file a status report with the court, no later
than Friday, February 27, 2009, confirming service of this order on plaintiff and describing the
means and date in which it was effected.

        IT IS SO ORDERED.

                                                        s/ Margaret M. Sweeney
                                                        MARGARET M. SWEENEY
                                                        Judge




                                                 -10-
